Case 5:22-c- BBO Seas ARG POE g of GOS Pet. PANS 1 Bb%e ID #:264

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. 6:21-cv-01215-HLT

$165,620.00 IN UNITED STATES
CURRENCY, more or less,

Defendant.

 

 

WARRANT OF ARREST IN REM AND ORDER FOR NOTICE

TO THE UNITED STATES MARSHAL OF THE DISTRICT OF KANSAS AND/OR ANY
OTHER DULY AUTHORIZED LAW ENFORCEMENT OFFICER:

The United States of America filed a verified complaint alleging that the defendant
property is subject to seizure and forfeiture to the United States of America. The Court has
reviewed the verified complaint and finds that probable cause exists that the defendant property
constitutes: money furnished or intended to be furnished in exchange for a controlled substance,
or constitutes proceeds traceable to such an exchange, or was used or intended to be used to
facilitate one or more violations of 21 U.S.C. § 881(a)(6). See Rule G(3) of the Supplemental Rules
for Certain Admiralty and Maritime Claims, Federal Rules of Civil Procedure.

THE COURT THEREFORE ORDERS that you are commanded to arrest and seize the
defendant property, and to use discretion and whatever means appropriate to protect and maintain
the defendant property until further order of the Court.

THE COURT FURTHER ORDERS that you are commanded to provide notice of this
action to all persons thought to have an interest in or claim against the defendant property by

sending to such person, or to the attorney representing such person with respect to the seizure of
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the property, a copy of this warrant of arrest in rem, and the verified complaint, in a manner
consistent with the principles of service of process of an action in rem under Rule G(4).

This warrant provides notice that in order to avoid civil forfeiture of the property, any
person claiming an interest in, or right against, the property must file a claim in this Court pursuant
to Rule G(5) of the Supplemental Rules for Admiralty or Maritime and Asset Forfeiture Claims.
The claim shall identify the specific property claimed, identify the claimant and state the claimant’s
interest in the property, be signed by the claimant under penalty of perjury, and a copy served on
the government attorney handling the case. A claimant shall file his or her claim no later than
thirty-five (35) days after the date notice is sent; but if direct notice was not sent to the claimant or
the claimant’s attorney, a claim shall be filed no later than sixty (60) days after the first day of
publication on an official government internet forfeiture site; or within the time the Court allows,
provided any request for an extension of time from the Court is made before the expiration of time
which the person must file such verified claim. In addition, any person having filed such claim
shall also serve and file an answer to the complaint no later than twenty-one (21) days after the
filing of the claim.

All claims, answers, and motions for or concerning the defendant property shall be filed
with the Office of the Clerk, United States District Court, 401 N. Market, Room 204, Wichita,
Kansas 67202, with copies thereof sent to Special Assistant United States Attorney Colin D. Wood,
301 N. Main, Suite 1200, Wichita, Kansas 67202.

IT IS SO ORDERED.

Dated: September 10, 2021 /s/ Holly L. Teeter

HOLLY L. TEETER
UNITED STATES DISTRICT JUDGE

 
